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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                        Criminal No. 21-173-01 (PJS/DTS)

 UNITED STATES OF AMERICA,

                     Plaintiff,

        v.
                                                GOVERNMENT’S RESPONSE IN
                                                OPPOSITION TO DEFENSE
 ANTON JOSEPH LAZZARO,
                                                MOTION TO DISMISS
 a/k/a Tony Lazzaro,
 a/k/a Tony,

                     Defendant.



        The United States of America, by and through its attorneys, Andrew M. Luger,

United States Attorney for the District of Minnesota, and Emily Polachek, Laura

Provinzino, and Melinda Williams, Assistant United States Attorneys, hereby submits

its response in opposition to Defendant’s most recent motion to dismiss (ECF No.

323).

        First and foremost, Defendant’s motion is woefully untimely. The Federal Rules

of Criminal Procedure provide that a defense that an indictment is defective “must be

raised by pretrial motion if the basis for the motion is then reasonably available and the

motion can be determined without a trial on the merits.” Fed. R. Crim. P. 12(b)(3);

United States v. Fogg, 922 F.3d 389, 391 (8th Cir. 2019). The Local Rules for the District

of Minnesota state that “[a] motion under Fed. R. Crim. P. 12(b) must be filed within

21 days after the arraignment.” D. Minn. L.R. 12.1(c)(1)(A) (amended Dec. 1, 2022),
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available at https://www.mnd.uscourts.gov/sites/mnd/files/LR-12-1.pdf. In this case,

pretrial motions were due more than a year ago on January 14, 2022. ECF No. 121.

On that date, Defendant filed two motions to dismiss the indictment, ECF Nos. 132,

133, but neither alleged any deficiency in the charging instrument itself.

      Current counsel is the thirteenth attorney retained by Defendant. Counsel joined

this case on June 3, 2022. ECF No. 206. He promptly filed two pretrial motions, both

seeking dismissal of the indictment. ECF Nos. 213, 214. But defense counsel waited

nine months—until the eve of trial—to file this motion to dismiss.

      Counsel claims this issue arose only when reviewing jury instructions. The

Government provided defense counsel with a copy of its proposed jury instructions

three weeks ago, on February 23, 2022. Defense counsel responded with his own

proposals on March 1, 2022. Defendant nonetheless waited weeks to file this motion.

Despite frequent communication from the Government, defense counsel failed to meet

and confer with the Government concerning this motion, in violation of Local Rule

12.1(b). As such, Defendant has not shown good cause or explanation to support his

untimely, eleventh-hour filing.

      Even if the Court found that Defendant’s motion could be considered at this

late hour, it would fail on the merits. The indictment sufficiently alleges all essential

elements of the offense and the proper mens rea. See Flores-Figueroa v. United States, 556

U.S. 646, 650 (2009) (“In ordinary English, where a transitive verb has an object,

listeners in most contexts assume that an adverb (such as knowingly) that modifies the

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transitive verb tells the listener how the subject performed the entire action, including

the object as set forth in the sentence.”); United States v. Collier, 932 F.3d 1067, 1079 (8th

Cir. 2019) (finding that a conviction under § 1591(a) does not require the Government

to prove that the victim “actually engaged in commercial sex”).

       However, out of an abundance of caution and to simplify the issues in dispute,

the Government has superseded the indictment. When the Government informed

defense counsel of this development, he agreed that superseding the indictment “fixed”

the issue. As such, Defendant’s motion should be denied as moot.


                                                         Respectfully submitted,

Dated: March 15, 2023                                    ANDREW M. LUGER
                                                         United States Attorney

                                                         s/ Emily Polachek
                                                         BY: EMILY A. POLACHEK
                                                         Attorney Reg. No.0390973
                                                         LAURA M. PROVINZINO
                                                         Attorney Reg. No. 0329691
                                                         MELINDA A. WILLIAMS
                                                         Attorney Reg. No. 491005 (D.C.)
                                                         Assistant United States Attorneys




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